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               United States District Court for the District of Columbia

United States of America                      *

         v.                                   *              No. 1:21-CR-00032-DLF-1

Guy Wesley Reffitt                            *


   Objection and Opposition to Government’s Proposed Jury Instruction
                          Regarding Count Two

         The Court has directed the filing of opposition to proposed jury instructions by

January 20, 2022. Min. Ord. Dec. 30, 2021. The Court has further ordered defense

counsel to include a proposed alternative instruction regarding Count Two.


         Accordingly, Mr. Reffitt objects and opposes the government’s Proposed Jury

Instruction for Count Two.         Doc. 86.       First, Mr. Reffitt maintains that the

Indictment(s) does not contain “the essential facts constituting the offense charged.”

Doc’s 4, 25, 34; see Fed. R. Crim. P. 7(c)(1). Mr. Reffitt has not received fair notice of

the charges against him and the government has not properly presented the felony

charge to the grand jury. See e.g., United States v. Walsh, 194 F.3d 37, 44 (2d Cir.

1999).


         Second, the government’s proposal omits the requirement that the “Official

Proceeding” must relate to the administration of justice.          Section 1512(c) only

prohibits the obstruction of proceedings related to the administration of justice that

take place before a tribunal. See United States v. Ermoian, 752 F.3d 1165, 1171–1172

(9th Cir. 2013).
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      Third, the government’s proposal omits the requirement that conduct

otherwise impair the integrity and availability of non-object information used in the

“official proceeding.” 18 U.S.C. § 1512(c)(2); see Yates v. United States, 574 U.S. 528,

544 (2015).


      Fourth, the government’s proposal is contrary to the D.C. Circuit’s holding in

United States v. Poindexter that the term “corruptly” is vague and unconstitutional.

951 F.2d 369 (D.C. Cir. 1991). “Corruptly” requires the government to allege and

prove that the defendant committed an obstructive act with the intent to obtain an

unlawful advantage for himself or an associate, and that he influenced another to

violate their legal duty. Id. at 379; United States v. North, 910 F.2d 843, 882, 285

U.S. App. D.C. 343 (D.C. Cir. 1990) (a “corrupt” intent means “the intent to obtain an

improper advantage for oneself or someone else…”); United States v. Reeves, 752 F.2d

995, 1001 (5th Cir. 1985) (“To interpret ‘corruptly’ [in obstruction statute] as meaning

‘with an improper motive or bad or evil purpose’ would raise the potential of

overbreadth’ in this statute because of the chilling effect on protected activities …

Where ‘corruptly’ is taken to require an intent to secure an unlawful advantage or

benefit, the statute does not infringe on first amendment guarantees and is not

‘overbroad.’”). Count Two does not allege those facts, and the government does not

proffer them. Doc’s 4, 25, 34, 40, 56, 60, 71, 79.


      Poindexter also stands for the unlawful-advantage standard and the transitive

corruption rule. 951 F.2d 369. In Mr. Reffitt’s case, despite being ordered to “file a

Bill of Particulars that sets forth the means by which Mr. Reffitt ‘corruptly...


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obstruct[ed], influence[d], or impede[d] any official proceeding.’       18 U.S.C. §

1512(c)(2); see Fed. R. Crim. P. 7(f) (Min. Ord., Nov. 19, 2021), and despite being

ordered to respond to “the defendant’s objection, see [75] Defendant’s Response to

Order to Show Cause at 5[]” (Min. Ord., Dec. 14, 2021), the government still has not

answered the questions:

             What was the “unlawful benefit” Reffitt intended to and did
      receive on January 6?

            Whom did Reffitt influence to violate their legal duty and thereby
      obstruct an official proceeding?

      Defendant’s counsel provides the following instruction regarding Count Two,

because the Court has ordered him to do so.        Mr. Reffitt maintains all of his

arguments in support of his Motion to Dismiss Count Two and relies on the

government representation to the Court that it would not argue on appeal that he

had waived any arguments by submitting an instruction regarding Count Two.


                                      Elements

           To find the defendant guilty of this crime, you must be convinced
      beyond a reasonable doubt:

            First: The defendant acted knowingly;

            Second: The defendant obstructed, influenced, or impeded, or
      attempted to obstruct, influence or impede, an official proceeding;

            Third: The defendant acted corruptly, that is, the defendant acted
      knowingly and dishonestly with the wrongful purpose to obstruct,
      influence, or impede the due administration of justice;

             Fourth: The defendant’s alleged actions had a relationship in
      time, causation, or logic with the proceeding such that it was foreseeable
      that defendant's conduct would interfere with the proceeding. In other


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      words, the government must prove to you beyond a reasonable doubt
      that obstruction of an official proceeding was the natural and probable
      outcome of defendant’s conduct.

United States v. Ahrensfield, 698 F. 3d 1310 (10th Cir. 2012).


                                       Definitions

             You have been instructed that in order to sustain its burden of
      proof, the government must prove that the defendant acted knowingly.
      A person acts knowingly if he acts intentionally and voluntarily, and not
      because of ignorance, mistake, accident, or carelessness. Whether the
      defendant acted knowingly may be proven by the defendant’s conduct
      and by all of the facts and circumstances surrounding the case.

L. Sand, et al., Mod. Fed. Jury Instr.—Crim., Instr. 3A-1, filed through Rel. 78B, 2021.


            An official proceeding means a proceeding before a court, judge or
      federal agency. The proceeding may be civil or criminal. You are
      instructed that (e.g., a federal grand jury investigation) is an official
      proceeding.

              The law does not require that the federal proceeding be pending
      at the time of defendant’s actions as long as the proceeding was
      foreseeable such that defendant knew that his actions were likely to
      affect the proceeding. In addition, the government does not have to
      prove that defendant knew that the proceeding would be in (e.g., federal
      court).

Sand, Instr. 46-70; see Arthur Andersen LLP v. United States, 544 U.S. 696, 125 S.

Ct. 2129, 161 L. Ed. 2d 1008 (2005).


            To act corruptly means to act with an improper purpose and to
      engage in conduct knowingly and dishonestly and with the intent to
      obstruct, impede or influence the due administration of justice.
      “Corruptly” requires the government to prove beyond a reasonable doubt
      that the defendant committed an obstructive act with the intent to
      obtain an unlawful advantage for himself or an associate, and that he
      influenced another to violate their legal duty.


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Sand, Instr. 46-71; Poindexter, 951 F.2d at 379.


                                      Attempt

            The elements of the crime of attempted obstruction of an official
      proceeding, each of which the government must prove beyond a
      reasonable doubt, are that:

             First: The defendant intended to commit the crime of obstructing
      an official proceeding;

            Second: The defendant engaged in conduct that constituted a
      substantial step toward committing obstruction of an official proceeding;

            Obstruction of an official proceeding requires proof beyond a
      reasonable doubt that:

             First: The defendant acted knowingly;

            Second: The defendant obstructed, influenced, or impeded, or
      attempted to obstruct, influence or impede, an official proceeding;

            Third: The defendant acted corruptly, that is, the defendant acted
      knowingly and dishonestly with the wrongful purpose to obstruct,
      influence, or impede the due administration of justice;

             Fourth: The defendant’s alleged actions had a relationship in
      time, causation, or logic with the proceeding such that it was foreseeable
      that defendant's conduct would interfere with the proceeding. In other
      words, the government must prove to you beyond a reasonable doubt
      that obstruction of an official proceeding was the natural and probable
      outcome of defendant's conduct.

             An overt act must constitute a “substantial step” toward
      completing the offense. However, “mere preparation” does not amount
      to an attempt.

Barbara E. Bergman, Crim. Jury Instr. for the District of Columbia, Fifth Ed., Instr.

No. 7.101, filed through Rel. No. 17, Sep. 2019 (the Red Book); see United States v.

Resendez-Ponce, 549 U.S. 102, 106–07 (2007); see also United States v. Duran, 96 F.3d



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1495 (D.C. Cir. 1996); United States v. Bolden, 514 F.2d 1301, 1307 n.10 (D.C. Cir.

1975).


                                   Aiding and Abetting

                You may find the defendant guilty of the crime charged in the
         indictment without finding that he personally committed each of the
         acts that make up the crime or that he was present while the crime was
         being committed.      Any person who in some way intentionally
         participates in the commission of a crime can be found guilty either as
         an aider and abettor or as a principal offender. It makes no difference
         which label you attach. The person is as guilty of the crime as he would
         be if he had personally committed each of the acts that make up the
         crime.

               To find that a defendant aided and abetted in committing a crime,
         you must find that the defendant knowingly associated himself with the
         commission of the crime, that he participated in the crime as something
         he wished to bring about, and that he intended by his actions to make it
         succeed.

                Some affirmative conduct by the defendant in planning or
         carrying out the crime is necessary. Mere physical presence by Mr
         Reffitt at the place and time the crime is committed is not by itself
         sufficient to establish his guilt.

               The government is not required to prove that anyone discussed or
         agreed upon a specific time or method of committing the crime.

               I have already instructed you on the elements of the offense with
         which the defendant is charged. With respect to the charge of
         obstructing an official proceeding, regardless of whether the defendant
         is an aider and abettor or a principal offender, the government must
         prove beyond a reasonable doubt that Mr. Reffitt personally acted with
         knowledge.

               An aider and abettor is legally responsible for the principal’s use
         of a weapon during an offense if the government proves beyond a
         reasonable doubt that the aider and abettor had actual knowledge that
         the principal would be armed with a dangerous weapon during the


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        commission of the offense.       You may consider the surrounding
        circumstances in determining whether the aider and abettor knew that
        the principal would be armed with a dangerous weapon during the
        commission of the offense. You may consider any statement made, acts
        done or not done, the reasonable foreseeability that some weapon would
        be required to commit the offense, and any other facts and
        circumstances received in evidence that indicate the aider and abettor’s
        actual knowledge or lack of actual knowledge that the principal would
        be armed with a dangerous weapon during the offense.

Bergman, Crim. Jury Instr. 3.200.



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                                Certificate of Service

        I hereby certify that on this 19th day of January 2022, a copy of the foregoing

Objection and Opposition to Government’s Proposed Jury Instruction Regarding

Count     Two    was    delivered   electronically   to   Mr.   Jeffrey   S.   Nestler

(jeffrey.nestler@usdoj.gov) and Ms. Risa Berkower (risa.berkower@usdoj.gov), Office

of the United States Attorney, 555 Fourth Street, NW, Washington, DC 20530.



                                            /s/ William         L. Welch, III
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